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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION


 ROTHSCHILD BROADCAST DISTRIBUTION                       CASE NO. 6:15-CV-232 RWS-JDL
 SYSTEMS, LLC,

                Plaintiff,
                                                         JURY TRIAL DEMANDED
          v.

 VIMEO, LLC,

                Defendant.



      .                           ORDER OF DISMISSAL
          Before the Court is Plaintiff Rothschild Broadcast Distribution Systems, LLC and

 Defendant Vimeo, LLC’s Joint Motion to Dismiss. The Court, having reviewed the motion, and

 being well-advised, finds that the motion should be and is GRANTED. It is therefore

          ORDERED that all claims asserted against Vimeo, LLC in the above-captioned action

 are DISMISSED WITH PREJUDICE.            Each party shall bear its own costs, expenses, and

 attorneys’ fees.

          SIGNED this 14th day of October, 2015.




                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE




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